      Case 1:21-cv-00400-APM Document 77-1 Filed 02/16/24 Page 1 of 1
 USCA Case #22-5069    Document #2029465      Filed: 12/01/2023 Page 1 of 1



                   United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT


No. 22-5069                                                  September Term, 2023
                                                             FILED ON: DECEMBER 1, 2023
JAMES BLASSINGAME AND SIDNEY HEMBY,
                  APPELLEES
v.
DONALD J. TRUMP,
                      APPELLANT


Consolidated with 22-7030, 22-7031

                          Appeals from the United States District Court
                                  for the District of Columbia
                                      (No. 1:21-cv-00858)
                                      (No. 1:21-cv-00586)
                                      (No. 1:21-cv-00400)

       Before: SRINIVASAN, Chief Judge, KATSAS, Circuit Judge, and ROGERS, Senior Circuit
              Judge.
                                     JUDGMENT
       These causes came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and were argued by counsel. On consideration thereof, it is
       ORDERED and ADJUDGED that the District Court’s denial of Appellant’s motion to
dismiss the claims against him on the grounds of presidential immunity be affirmed, in accordance
with the opinion of the court filed herein this date.
                                          Per Curiam


                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk
                                                    BY:    /s/
                                                           Daniel J. Reidy
                                                           Deputy Clerk

Date: December 1, 2023
Opinion for the court filed by Chief Judge Srinivasan.
Concurring opinion filed by Circuit Judge Katsas.
Opinion concurring in part filed by Senior Circuit Judge Rogers.
